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Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      DECLARATION OF LESLEY E.
                                               WEAVER IN SUPPORT OF
ALL ACTIONS                                    PLAINTIFFS’ ADMINISTRATIVE
                                               MOTION TO CONSIDER WHETHER
                                               ANOTHER PARTY’S MATERIALS
                                               SHOULD BE SEALED

                                               Judge: Hon. Vince Chhabria
                                               Special Master Daniel Garrie
                                               Courtroom: 4, 17th Floor




WEAVER DECL. ISO PLS’ ADMIN. MOT. TO           1                                MDL NO. 2843
CONSIDER WHETHER ANOTHER PARTY’S                                     CASE NO. 18-MD-02843-VC
MATERIALS SHOULD BE SEALED
       Case 3:18-md-02843-VC Document 1067-1 Filed 10/18/22 Page 2 of 3



       I, Lesley E. Weaver, declare and state as follows:

       1.      I am Partner-in-Charge the California office of Bleichmar Fonti & Auld LLP,

head of its consumer and antitrust practice, and co-lead counsel to plaintiffs in In re: Facebook,

Inc. Consumer Privacy User Profile Litigation, No. 18-md-02843-VC (N.D. Cal.). I am a

member in good standing of the bar of the State of California and of the United States District

Court for the Northern District of California.

       2.      I have personal knowledge of the facts set forth herein and, if called as a witness,

could and would testify competently to them.

       3.      This declaration is made in support of the Plaintiffs’ Administrative Motion To

Consider Whether Another Party’s Material Should Be Sealed.

       4.      True and correct copies of the following documents are attached as follows:

               (1) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Simon Cross, dated May 9, 2022, is attached hereto.

               (2) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Simon Cross, dated May 12, 2022, is attached hereto.

               (3) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Simon Cross, dated June 6, 2022, is attached hereto.

               (4) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Simon Cross, dated June 20, 2022, is attached hereto.

               (5) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Simon Cross, dated June 21, 2022, is attached hereto.

               (6) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of David Miller, dated July 22, 2022, is attached hereto.

               (7) A true and correct unredacted copy of the full 30(b)(6) Deposition Transcript

                   of Michael Fahey, dated July 21, 2022, is attached hereto.




WEAVER DECL. ISO PLS’ ADMIN. MOT. TO                1                                   MDL NO. 2843
CONSIDER WHETHER ANOTHER PARTY’S                                             CASE NO. 18-MD-02843-VC
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         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and to the best of my knowledge.



         Dated October 18, 2022
                                               By: /s/ Lesley E. Weaver
                                                       Lesley E. Weaver




4855-3508-9466, v. 3




WEAVER DECL. ISO PLS’ ADMIN. MOT. TO                 2                                  MDL NO. 2843
CONSIDER WHETHER ANOTHER PARTY’S                                             CASE NO. 18-MD-02843-VC
MATERIALS SHOULD BE SEALED
